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                    UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              BRIDGEPORT DIVISION
_______________________________________________
In re                                           : Chapter 11
                                                :
      Ho Wan Kwok,                              : Case No. 22-50073
                                                :
                          1
                  Debtor.                       :
                                                :
________________________________________________:

           MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
              CREDITORS OF DEBTOR FOR AUTHORIZATION TO
              CONDUCT AN EXAMINATION OF GETTR USA, INC.
        AND TO SUBPOENA PRODUCTION OF DOCUMENTS PURSUANT
      TO FED. R. BANKR. P. 2004 AND 9016 AND D. CONN. BANKR. L.R. 2004-1

       The Official Committee of Unsecured Creditors (the “Committee”) of Debtor and Debtor

in Possession, Ho Wan Kwok (the “Debtor”), herby submits this Motion for Authorization to

Conduct an Examination of Gettr USA, Inc. and Subpoena Production of Documents Pursuant to

Fed. R. Bankr. P. 2004 and 9016 and D. Conn. Bankr. L.R. 2004-1 (the “Rule 2004 Motion”)

       In support of its Rule 2004 Motion, the Committee respectfully represents as follows:

                         RELEVANT PROCEDURAL HISTORY

       1.     On February 15, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy Code”). Since

that time, the Debtor has remained a debtor-in-possession pursuant to §§1107 and 1108 of the

Bankruptcy Code.

       2.     No trustee or examiner has yet been appointed in the Debtor’s bankruptcy case,

although on March 19, 2022, the United States Trustee (“UST”) filed a Motion for Order



1
 The Debtor is known by the following names: Guo Wengui; Miles Guo; Miles Kwok; and Ho Wan
Kwok.
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Directing Appointment of an Examiner, or in the alternative, Motion for Order Directing the

Appointment of a Chapter 11 Trustee (the “Examiner/Trustee Motion”).

       3.      Oppositions to the Examiner/Trustee Motion have been filed by the Committee,

Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”), and creditors Rui Ma and Weican Meng.

On April 13, 2022, after a hearing held on the Examiner/Trustee Motion and other motions and

applications filed in the case, the Examiner/Trustee Motion was scheduled for a status

conference for scheduling purposes on April 27, 2022.

       4.      On March 21, 2022, the Committee was officially appointed by the United States

Trustee and on March 28, 2022, selected Pullman & Comley, LLC (“P&C”) as its counsel.2

       5.      On March 1, 2022, Pacific Alliance Asia Opportunity Fund L.P. (“PAX”) filed its

Motion of Pacific Alliance Asia Opportunity Fund L.P. for Entry of an Order Confirming the

Inapplicability of the Automatic Stay or, in the Alternative, Relief from the Automatic Stay

Pursuant to Section 362(d)(2) of the Bankruptcy Code (the “PAX Motion”).

       6.      On March 15, 2022, the Debtor filed its Objection to the PAX Motion, to which

PAX filed a Reply on March 18, 2022 (ECF No. 98) (the “PAX Reply”). On March 28, 2022,

the Debtor filed a Supplemental Objection to the PAX Motion (the “Debtor Supp. Obj.”), and on

April 6, 2022, the Committee filed its Position Statement in limited support of the PAX Motion.

       7.      By the PAX Motion, PAX seeks to return to the PAX Litigation for purposes of

compelling the Debtor to return to U.S. jurisdiction a yacht known as the Lady May, which the

Debtor and/or the registered owners of the Lady May had been ordered not to remove, but did

remove, from the New York court’s jurisdiction well over one year ago (PAX Motion, Ex. B,



2
 The Committee filed an application for authority to employ P&C on April 5, 2022. The application has
been scheduled for a hearing on April 27, 2022.



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Declaration of Peter Friedman, hereinafter the “Friedman Dec.,” ¶2, Ex. 1, February 9, 2022

Decision and Order of Judge Barry R. Ostrager, the “February 9, 2022 Decision,” at 2).

       8.      For his contemptuous conduct in failing to return the Lady May, the Debtor was

ordered to pay a contempt fine to PAX in the amount of $134,000,000 within five days of service

of Judge Ostrager’s Final Order of Civil Contempt, failing which the court would “exercise its

full authority under New York Judiciary Law § 753” (Friedman Dec., Ex. 5). The Debtor filed

his voluntary petition the day before the contempt fine was due to be paid.

       9.      Notwithstanding Judge Ostrager’s finding that the Debtor not only controls, but

“has much more than a beneficial interest in the Lady May,” as it “appears he provided the funds

to purchase it and he is the person who principally enjoys the use of the yacht” (February 9, 2022

Decision at 8), the Debtor continues to maintain that the Lady May is owned by an entity known

as HK International Funds Investment (USA) Limited, LLC (“HK USA”), which is owned by his

daughter, Mei Guo.

       10.     At a February 2, 2022 hearing before Judge Ostrager, Ms. Guo testified that

Golden Spring advised her to move the Lady May out of the New York court’s jurisdiction and

that her brother, Qiang Guo, bought the Lady May for her and is the sole owner of Golden

Spring (February 9, 2022 Decision at 5-6).

       11.     At the April 13, 2022 hearing on the PAX Motion, counsel for HK USA

represented that HK USA’s only asset was the Lady May, but later in the hearing, HK USA

offered to post a $37 million cash bond in order to free the Debtor from having to further defend

the PAX Motion and, if granted, from then having to confront Judge Ostrager for the Debtor’s

acts of contempt. A status conference to discuss the particulars of the bond was scheduled for




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April 18, 2022; if the PAX Motion cannot be resolved, the PAX Motion and the objections and

responses thereto have been scheduled for a hearing on April 27, 2022.

        12.     On March 16, 2022, the Debtor filed a series of applications seeking to retain

Brown Rudnick LLP as his counsel, Stretto, Inc. as a claims and noticing agent, and Verdolino &

Lowey, P.C. as his financial advisor. Objections to these applications were filed by the UST,

PAX, the Committee and creditors, Rui Ma and Weican Meng; at a hearing held on April 13,

2022, the Debtor withdrew his application to retain Stretto, Inc and the other applications and

objections were scheduled for a continued hearing on April 27, 2022.

        13.     On March 22, 2022, the Debtor filed a Motion for Entry of Interim and Final DIP

Orders (I) Authorizing the Debtor to Obtain Unsecured, Subordinated Postpetition Financing,

and (II) Scheduling Interim and Final Hearings, and (III) Granting Related Relief (the “DIP

Motion”).

        14.     By the DIP Motion and the loan for which it seeks court approval (the “DIP

Loan”), the Debtor and his son, Qiang Guo (the “Son”)3, through the Son’s company, Golden

Spring, have dangled the carrot of a postpetition loan to the Debtor of up to $8 million to fund

professional fees and other administrative expenses to be incurred in this case, but it comes with

termination events that leverage and improperly attempt to influence the direction of this case

and the chapter 11 process. Objections to the DIP Motion have been filed by the UST, PAX, the

Committee and creditors, Rui Ma and Weican Meng. After a hearing held on April 13, 2022, a




3
  The proposed loan is, in name, to be extended by Golden Spring (New York), Ltd. (“Golden Spring”),
which the Debtor maintains is “an entity owned and controlled by [his] son” (DIP Motion ¶2). The
Debtor acknowledges that, in effect, it is his Son who is offering to provide the loan (DIP Motion ¶15)
(“… the Debtor asked his son to extend additional credit to that end”).



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continued hearing on the DIP Motion and the objections thereto was scheduled for April 27,

2022.

        15.      On March 22, 2022, the Debtor filed a Motion for Entry of an Order Authorizing

(I) Employment and Payment of Professionals Utilized in the Ordinary Course, (II) Payment of

Prepetition Claims, and (III) Granting Related Relief (the “OCP Motion”). The OCP Motion

was denied after a hearing held on April 13, 2022.

        16.      In the Debtor’s application to retain Brown Rudnick, it was disclosed that Brown

Rudnick was paid a $1 million retainer with the proceeds of a loan to the Debtor from another

one of his Son’s companies, Lamp Capital, LLC.

        17.      Another significant asset owned by the Debtor, but which he maintains is held in

trust for his Son, is his interest in the Sherry-Netherland apartment located at 781 Fifth Avenue,

New York, NY, which the Debtor purchased in March 2015 for $67.5 million through Genever

Holdings LLC (“Genever NY”) (the “Sherry-Netherland Apartment”) (See PAX Motion n. 36

and materials cited therein, and Declaration of Mr. Ho Wan Kwok in Support of the Chapter 11

Case and Certain Motions (Kwok Dec.”) ¶17).

        18.      Of particular relevance to the instant motion, the February 9, 2022 Decision found

that:

        •     the Debtor had engaged in “efforts to avoid and deceive his creditors by parking his
              substantial personal assets with a series of corporations, trusted confidants, and
              family members” (p. 1)

        •     the Debtor had “secreted his assets in a maze of corporate entities and with family
              members” (p. 1)

        •     the Debtor “and his cohorts made arrangement for the Lady May to sail to Florida in
              early October 2020 and, thereafter, to the Bahamas” in violation of a September 2020
              restraining order (p. 2)




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        •     the Debtor’s daughter testified “that it was Golden Spring that advised her that the
              yacht needed to be moved to a warmer place” (p. 6)

        •     according to testimony of the managing director of the Lady May’s yacht
              management company, he communicated with Golden Spring and HK USA,
              apparently the legal titleholder, concerning the Lady May (p. 6).

        19.      In his declaration, the Debtor represents that among the purposes for filing his

chapter 11 case were “to … (b) afford stakeholders an efficient opportunity to investigate [his]

assets, liabilities, and financial affairs, given what I perceive to be misunderstandings in that

regard; [and] (c) establish what assets are estate property and, in turn, available for distribution to

holders of allowed claims” (Kwok Dec. ¶3).

        20.      One of the potential assets for inclusion in the Debtor’s bankruptcy estate is his

widely reported “interest” in the newly created company, Gettr USA, Inc. (“Gettr”), which,

according the The Wall Street Journal and other reports, was launched in July 2021 by former

Trump advisor Jason Miller as a conservative social media platform designed to compete with

Twitter. See Keach Hagey and Brian Spegele, Ex-Trump Advisor Jason Miller Says New Social

App Gettr is Backed by Foundation Tied to Guo Wengui, ᴛʜᴇ ᴡᴀʟʟ sᴛʀᴇᴇᴛ ᴊᴏᴜʀɴᴀʟ,

https://www.wsj.com/articles/ex-trump-adviser-jason-miller-new-social-app-gettr-backed-by-

guo-wengui-tied-foundation-11625199130 (July 2, 2021) (last visited April 23, 2022) (the “WSJ

Gettr Article”).4 It has been widely reported in the media that the intellectual property for




4
  According to the WSJ Gettr Article, Mr. Miller attributes Gettr’s financial backing to a “Guo family
foundation” and claims that the Debtor does not have a “direct financial stake or direct role in Gettr.”
(emphasis added). The deliberate use of the word, “direct,” of course, implies that the Debtor at least has
some indirect interest or role in Gettr, which would be consistent with Judge Ostrager’s finding that the
Debtor is hiding his assets in a “maze of corporate entities and with family members.” See also John
Feng, Steve Bannon’s Billionaire Backer Guo Wengui Reveal’s He’s Bankrupt, ɴᴇᴡsᴡᴇᴇᴋ,
https://www.newsweek.com/billionaire-steve-bannon-gettr-backer-guo-wengui-files-bankruptcy-1679824
(Feb. 16, 2022) (last visited April 23, 2022) (stating that “[a] foundation owned by Guo is also behind the
operations of Gettr”).


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Gettr’s platform was the “brainchild” of the Debtor and that the Debtor exercises control over

and is otherwise substantially involved in Gettr’s business affairs.5 Reuters has reported that

Gettr has “6.8 million installations.” https://www.reuters.com/technology/exclusive-two-key-

tech-execs-quit-truth-social-after-troubled-app-launch-2022-04-04/. The data Gettr collects

from its users has substantial monetary value.

        21.      Yet another linkage of the Debtor to Gettr is the fact that his profile, @Miles, is

one of the few accounts which is “Verified” on the social media service. He is even using Gettr

now (https://gettr.com/user/miles) to, inter alia, promote his brand as well as business endeavors.

For instance, just several days ago on April 20th, Debtor used his Gettr account to promote

“ HCoin, Tang Ping Coin, and HPay,” (https://gnews.org/zh-hans/2390415/).




5
  Will Sommer, Adam Rawnsley, A. Suebsaeng, ᴛʜᴇ ᴅᴀɪʟʏ ʙᴇᴀsᴛ,
https://www.thedailybeast.com/trumpworld-app-is-bankrolled-by-fugitive-chinese-billionaire?ref=home
(July 5, 2021, 12:19 p.m.) (last visited April 23, 2022) (reporting that “sites associated with the billionaire
have suggested that Gettr is Guo’s brainchild,” and attributing to a host on GTV, “a media outlet that
serves as a mouthpiece for Guo,” the observation that Gettr was “‘the concentration of Miles’s whole life
work’,” and adding that “Guo had come up with the idea for Gettr’s logo, a torch”). Still further, the
Daily Beast article notes that “[a]n earlier version of Gettr called ‘Getome,’ which Guo once praised as a
key part of his global strategy, also suggests that the billionaire has significant ties to Gettr.” Id. A more
recent article published several weeks before the Petition Date captured WhatsApp text messages from
the Debtor dispensing business advice “(arguably instructions)” to Jason Miller, Gettr’s CEO, about how
to handle a celebrity that initially gave prominence to Gettr but then soured on it, and reports that “Gettr is
based on a nearly identical social media application that Guo first developed called Getter (and before that
Getome).” Dan Friedman and Ali Breland, ᴍᴏᴛʜᴇʀ ᴊᴏɴᴇs, Leaked Messages Show Gettr in Crisis
Mode Over Joe Rogan Criticism (January 21, 2022) (last visited April 23, 2022). The WhatsApp
colloquy between the two suggests that Mr. Miller reports directly to the Debtor and even receives and
accepts instructions from him. What provides even greater need to investigate Gettr for this case is the
“legal document obtained by Mother Jones” which reveals that although Gettr reports a business address
at 3 Columbus Circle, New York, NY, paychecks for its employees bear the address of “an Upper East
Side building that houses Guo’s commercial and nonprofit ventures.” Id. The building is “what Guo calls
the ‘Himalaya Embassy’ of the New Federal State of China, the supposed government government-in-
waiting dedicated to CCP’s overthrow that Guo and [Steve] Bannon launched in 2020.” Id. An even
more recent article reports that according to former employees of Gettr, the Debtor and “his “‘hand-
picked’ chief technology officer [for Gettr], Joe Wang,” “disagreed with Gettr’s information technology
and cybersecurity teams” about security protocols and that the Debtor was responsible for the Gettr’s
site’s security problems. Daniel Villarreal, ɴᴇᴡsᴡᴇᴇᴋ, Staff Laid Off From Gettr Blame Chinese


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                                 JURISDICTION AND VENUE

       22.     This Court has jurisdiction over the Rule 2004 Motion pursuant to 28 U.S.C. §§

157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates

for the relief sought herein are 11 U.S.C. § 1103(c)(2), 105(a), Fed. R. Bankr. P. 2004, and D.

Conn. LBR 2004-1.

                                     RELIEF REQUESTED

       23.     Pursuant to Bankruptcy Rule 2004, the Committee seeks an order, substantially in

the form attached hereto authorizing: (i) the Committee to take a Rule 2004 examination of

Gettr, by a proper corporate representative, Jason Miller; and (ii) issue a subpoena to Gettr,

substantially in the form attached hereto as Exhibit “A” (the “Subpoena”). The Subpoena shall

direct Gettr to: (i) produce documents responsive to a Subpoena within 14 calendar days of

service of the Subpoena; and (ii) appear for an examination under oath on a date acceptable to

the Committee within seven calendar days after the production of documents by

Gettr in compliance with the Subpoena.

                              BASIS FOR RELIEF REQUESTED

       24.     Bankruptcy Rule 2004(a) permits “the examination of any entity.”                     The

examination, consisting of testimony and document production, “may relate only to the acts,

conduct, or property or to the liabilities and financial condition of the debtor, or to matter which

may affect the administration of the debtor’s estate,” and in a chapter 11 case, “the examination

may also relate to the operation of any business and the desirability of its continuance, the source

of any money or property acquired or to be acquired by the debtor for purposes of consummating




Investor for Platform’s Floundering, https://www.newsweek.com/staff-laid-off-gettr-blame-chinese-
investor-platforms-floundering-1676047 (Feb. 3, 2022) (last visited April 23, 2022).


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a plan and the consideration given or offered therefor, and any other matter relevant to the case

or to the formulation of a plan.” Fed. R. Bankr. P. 2004(b) (emphasis added).

         25.   Section 1103(c)(2) of the Bankruptcy Code tracks Bankruptcy Rule 2004(b) by

authorizing a creditors’ committee to “investigate the acts, conduct, assets, liabilities, and

financial condition of the debtor, the operation of the debtor’s business and the desirability of the

continuance of such business, and any other matter relevant to the case or to the formulation of a

plan.”

         26.   Bankruptcy Rule 2004(c) provides that “[t]he attendance of an entity for

examination and the production of documentary evidence may be compelled in the manner

provided in [Bankruptcy] Rule 9016 for the attendance of witnesses at a hearing or trial.” Fed R.

Bankr. P. 2004(c).

         27.   “The purpose of a Rule 2004 examination is to assist a party in interest in

determining the nature and extent of the bankruptcy estate, revealing assets, examining

transactions and assessing whether wrongdoing has occurred.” In re Transmar Commodity

Group Ltd., 2018 WL 4006324, at *4 (Bankr. S.D.N.Y. Aug. 17, 2018) (internal quotation and

citation omitted). This includes assisting the investigator in revealing the nature and extent of

the estate and in discovering assets of the debtor that may have been intentionally or

unintentionally concealed. See In re Bennett Funding Group, Inc., 203 B.R. 24, 27-28 (Bankr.

N.D.N.Y. 1996).

         28.   A third party who has a relationship with the debtor may be the subject of a Rule

2004 examination in order to aid in the discovery of assets. See In re Ionesphere Clubs, Inc., 156

B.R. 414, 432 (S.D.N.Y.), aff’d, 17 F.3d 600 (2d Cir. 1994). “[C]ourts routinely permit the

examination of witnesses having knowledge of the debtor’s acts, conduct, liabilities, assets, etc.”




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In re Transmar Commodity Group, Ltd., Case No. 16-13625, 2018 WL 4006324, at *9 (Bankr.

S.D.N.Y. Aug. 17, 2018) (citation omitted).

       29.     More specifically, it has been held by numerous court decisions that “the use of

Rule 2004 discovery to identify or evaluate possible claims against [a third party] fits squarely

within the scope of Rule 2004.” In re Transmar Commodity Group, Ltd., Case No. 16-13625,

2018 WL 4006324, at *4 (Bankr. S.D.N.Y. Aug. 17, 2018) (citing In re Gawker Media LLC, No.

16-11700, 2017 WL 2804870, at *6 (Bankr. S.D.N.Y. June 28, 2017), which granted a trustee's

Rule 2004 discovery where the stated purpose of the request was to determine whether trustee

should commence litigation against the examinees); and In re Hughes, 281 B.R. 224, 226

(Bankr. S.D.N.Y. 2002), stating that “the investigation of potential claims on behalf of a debtor

is not an improper use of Rule 2004 discovery.”).

       30.     Indeed, it has been observed that “[l]egitimate goals of Rule 2004 examinations

include discovering assets, examining transactions, and determining whether wrongdoing has

occurred.” In re Millennium Lab Holdings II, LLC, 562 B.R. 614, 626 (Bankr. D. Del. 2016)

(internal quotation and citation omitted). See also In re Symington, 209 B.R. 678, 683-84

(Bankr. D. Md. 1997) (“obvious purposes [of Rule 2004] are the discovery of assets of the estate

and the exposure of fraudulent conduct.”) (citations omitted); In re Ecam Publications, Inc., 131

B.R. 556, 560 (Bankr. S.D.N.Y. 1991) (rejecting argument by witnesses that trustee is

improperly using Rule 2004 to take discovery in preparation for asserting claims against them

and noting that Rule 2004's intended use is to “determine whether there are grounds to bring an

action to recover property of the estate.”)

       31.     The permissible scope of a Rule 2004 examination is very broad and is commonly

recognized as in the nature of a “fishing expedition.” See In re Corso, 328 B.R. 375, 383




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(E.D.N.Y. 2005); In re Hughes, 281 B.R. 224, 226 (Bankr. S.D.N.Y. 2002); In re Balakis, 199

B.R. 443, 447 (Bankr. E.D.N.Y. 1996); In re Table Talk, Inc., 51 B.R. 143, 145 (Bankr. D. Mass.

1985).

         32.   It has been recognized that a Rule 2004 examination may be ordered ex parte, see

In re Meticom, Inc., 318 B.R. 263, 268 (S.D.N.Y. 2004), and that “[t]he Bankruptcy Court has

the discretion to grant a request for a Rule 2004 examination.” In re Cambridge Analytica, LLC¸

600 B.R. 750, 752 (Bankr. S.D.N.Y. 2019). See also In re Bd. of Dirs. of Hopewell Int’l Ins.

Ltd., 258 B.R. 580, 587 (Bankr. S.D.N.Y.) (Rule 2004 affords the court “significant discretion”).

         33.   When the purpose of the examination and document requests is not to gain an

advantage in pending litigation or to abuse or harass, the requests should be granted. See In re

Meticom, Inc., 318 B.R. 263, 268 (“good cause” for Rule 2004 examination is generally “shown

if the Rule 2004 examination is necessary to establish the claim of the party seeking the

examination, or if denial of such request would cause the examiner undue hardship or injustice”).

         34.   There is abundant cause to authorize a Rule 2004 examination of, and document

production from, Gettr, based on the extensive public reporting that the Debtor or a “family

foundation owned” by him is Gettr’s financial backer, that he likely has at least an indirect

interest in Gettr and was responsible for its business model, if not its intellectual property, and is

otherwise intimately involved in its business affairs. In the Debtor’s own words, an examination

of, and document production from, Gettr is necessary to “afford stakeholders an efficient

opportunity to investigate [his] assets, liabilities, and financial affairs,” and to find out “what

assets are estate property and, in turn, available for distribution to holders of allowed claims”

(Kwok Dec. ¶3).




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        WHEREFORE, the Committee respectfully requests that the Court grant the Rule 2004

Motion by entry of an order substantially in the form annexed hereto and grant such other or

further relief as it may deem just, equitable and proper.

Dated: Bridgeport, Connecticut
       April 25, 2022

                                              OFFICIAL COMMITTEE OF UNSECURED
                                              CREDITORS OF HO WAN KWOK



                                              By:     /s/Irve J. Goldman
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